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UNITED STATES DISTRICT COURT

FoR THE DISTRICT 0F NEW MEXICO " :. .i‘,:_ i)
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UNITED sTATEs oF AMERlCA, , v l _ sl_
Piaimiff, ij ' ' ' "";_\»
v. Docket No. CR 01-00071 MV
MICHAEL ESTRADA,
Defendant.

SENTENCING MEMOMNL_DUM AND INCORPORA'I`ED
MOTION FOR DOWNWARD DEPARTURE

COMES NOW, Michael Estrada, the above named defendant, by and through his
attorney, Dennis Candelaria, Assistant Federal Public Defender, and submits the following
memorandum and motion seeking downward departure, Which is intended to assist the Cou;rt at
the sentencing hearing in this cause. The Presentence Report (PSR) calculates Mr. Estrada’s
base offense level at 12. PSR 1[82. The Probation Officer found that Mr. Estrada is eligible for a
two-point reduction for acceptance of responsibility, bringing the offense level down to 10. PSR
1181. His criminal history category is VI. PSR1[45. Mr. Estrada’s guideline sentencing range is
therefore 24-30 months. If this Court finds that Mr. Estrada’s offense level should be adjusted to
provide for downward departure based on his present physical condition, he would be sentenced
at level 6, establishing a guideline range of 12-18 months making him eligible good time at the
Bureau of Prisons with a sentence of 12 months plus 1 day. Mr. Estrada requests a sentence of

12 months and l day.

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FACTUAL BACKGROUND

1. On May 11, 2001, Mr. Estrada pled guilty to Counts I and II of the Indictment
charging him with Distribution of Less than 50 grams of cocaine in violation of 21 U.S.C. §
84l(a)(1). P.S.R. 111.

2. Mr. Estrada’s parents reside in Deming, NM. Mr. Estrada’s father has never
participated in the upbringing of his son. On the other hand, Mr. Estrada’s mother has been the
only parent to raise her child and as a result the two of the have a very close bond. Within the
last month, Mrs. Estrada has been diagnosed with stomach cancer. As a result of her illnesses,
Mr. Estrada would be the only care-giver for his mother.

3. Mr. Estrada has two children from two past relationships His oldest child is 9 and his
youngest is 6 YEARS OLD. Mr. Estrada is able to visit both his children and has tried to pay
child support to his two children P.S.R. 11 62. Mr. Estrada is presently invoved in a relationship
with Juliet Barela. Ms. Barela is nine months pregnant, she is due this month, and Mr. Estrada is
the only source of income.

4. According to the Pre-Sentence Report, Mr. Estrada has various health conditions, for
which he is receiving medical treatment in Luna County Detention Center. In 1995, Mr. Estrada
was involved in a car accident and a metal plate was inserted. Since this accident, Mr. Estrada
has had a total of seven surgeries to correct an infection in his jaw as a result of the metal plate
becoming infected. P.S.R. 11 65.

5. In 1988, the defendant had an appendix removed. Later that same year, he had a hernia
operation and in 1989 he had lower back surgery. P.S.R. ‘|l 64.

6. Within the past two weeks, Mr. Estrada was injured as a result of a inmate fight.

Although Mr. Estrada was not involved in the fight, the corrections officers’ extract team entered

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the cell block of the jail and quelled the altercation. Later that evening, Mr. Estrada noticed a
considerable amount of blood in his urine. Although there is no allegation of excessive force by
the extract team, the amount of force was significant enough to cause kidney problems with Mr.

Estrada.

MOTION FOR DOWNWARD DEPARTURE

'I`he Sentencing Guideline Commission has recognized that unusual circumstances of the
offender may warrant a downward departure:

The Comrnission intends the sentencing courts to treat each

guideline as carving out a ‘heartland,’ a set of typical cases

embodying the conduct that each guideline describes When a

court finds an atypical case, one to which a particular guideline

linguistically applies but where conduct significantly differs from

the norm, the court may consider whether a departure is warranted
U.S.S.G. Ch. l, Pt. A, § 4(b)

In addition, the Court may depart downward pursuant to 18 U.S.C. § 3553(b), if the Court
finds that there exist mitigating circumstances of a kind, or to a degree, not adequately taken into
consideration by the Sentencing Commission in formulating the guidelines Unr'ted States v.
Koon, 518 U.S. 81 (1996); U.S.S.G. § 5K2.0. In Koon, the Supreme Court stated each guideline
applies to a “heartland of typical cases.” Factors that make a case atypical provide potential
bases for departure 'Um'ted States v. Jones, 158 F.3d 492, 496 (10th Cir. 1998).

Mr. Estrada requests this Court grant him a downward departure on the basis of his
physical condition. In addition, Mr. Estrada requests that the Probation Offlcer find Mr.

Estrada’s situation to be similar to that in United States v. Peria, 930 F.Zd 1486 (10th Cir. 1991),

and suggests that Mr. Estrada’s family situation might be a basis for departure

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A. Extraordinary Physical Impairment

Mr. Estrada asks this Court to grant a downward departure pursuant to U.S.S.G. § 5H1.4.
U.S.S.G. § 5H1.4 provides that “an extraordinary physical impairment may be a reason to
impose a senctence below the applicable guideline range, e.g., in the case of a seriously infirm
defendant, home detention may be as efficient as, and less costly than, imprisonment.” Section
SHl .4 allows downward departures anytime a sentencing court is presented with sufficient
evidence of impairment United States v. Slater, 971 F.2d 626, (l 0th Cir. 1992). In Slater, the
defendant suffered from spondylosis and scoliosis of the spine which went untreated until he was
in his twenties The defendant’s doctor documented the connections between the defendant’s
disabling back pain and his inability to work, severe headaches, depression, and drug use. The
Social Security Administration also judged the defendant as totally disabled based on his
physical and emotional problems

Although the present case at bar is not as serious as the Slater case, it is analogous Mr.
Estrada is currently suffering from kidney problems Each morning Mr. Estrada urinates and
defecates blood. Recently, Mr. Estrada reports there has been an increase in bleeding in his
rectum and blood in his stools. The initial diagnosis of Mr. Estrada was colon cancer. However,
due to Mr. Estrada’s financial woes, he was unable to follow up with the necessary medical
attention including but not limited to a colonoscopy. As reported in the Pre-Sentence Report
(paragraph 66), the United States Probation Offrce has been unable to verify the information
given by Mr. Estrada regarding his treatment and diagnosis from Adjustive Disease Consultants
of Las Cruces.

Presently, Mr. Estrada is incarcerated at the Luna County Detention Center. He is under

the care of Dr. Hanan. Dr. Hanan has prescribed the antibiotic TMZ which is a powerful

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antibiotic for treating his kidney problems Additionally, Mr. Estrada has to consume Vicadin
and Naproxen daily to ease the pain that he experiences As mentioned in the factual summary
above, Mr. Estrada has had multiple surgeries, including an appendectomy, surgeries for a
hernia, problems with his lower back, and seven jaw.

Due to his present physical condition, Mr. Estrada will be unable to withstand a
prolonged period of incarceration Furthermore, the Bureau of Prisons would be unable to
accommodate Mr. Estrada’s increasing physical needs On March 27, 2001, Mr. Estrada Was
ordered released to the third party custody of Diersen Charities in Las Cruces, NM. However,
due to his treatments and excessive doctor appointments his conditions were modified allow Mr.
Estrada to live with his mother. As a matter ofpolicy, “home detention may be as efficient as,
and less costly than, imprisonment.” Section 5H1.4

CONCLUSION
For the foregoing reasons, Mr. Estrada respectfully requests that the Court depart to

offense level 6, and that it sentence him to an appropriate term of twelve (12) months plus one

(l) day.

Respectfully submitted,

FEDERAL PUBLIC DEFENDER
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DE J. CANDELARIA
Assistant Federal Public Defender

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CERTIFICA'I`E OF SERVICE

 

l hereby certify that true and correct copies of the foregoing were delivered to Terry
Abernathy, Assistant United States Attorney, and to lason M. Towne, U.S. Probation Officer, by
depositing the same in the respective boxes of each at the U.S. Courthouse in Las Cruces, New

Mexico, this 8th day of August, 2001. 10 f
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5 Ni?ts J. CANDELARIA
Assis ant Federal Public Defender

